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D. Keith Enger
LAIN, FAULKNER & CO., P.C.
400 N. Saint Paul, Suite 600
Dallas, TX 75201
Telephone: (214) 720-1929
Fax: (214) 720-1450

Accountants for the Chapter 7 Trustee

                 IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION
 _____________________________________
                                       §
IN RE:                                 §
                                       § Case No. 15-41732
INTERPHASE CORPORATION                 § Chapter 7
                                       §
         DEBTOR.                       §
 _____________________________________ §

                                              COVER SHEET
               FIRST AND FINAL APPLICATION FOR ALLOWANCE OF
             COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                  LAIN, FAULKNER & CO., P.C., AS ACCOUNTANTS


Name of Application:               Lain, Faulkner & Co., P.C.
Capacity as:                       Accountants for the Chapter 7 Trustee
Fee Application of:                October 15, 2015 through December 21, 2017
Retainer Received:                 None                     Amount Previously Paid: $               None

                                                                                 First and Final
                   Amount Requested:                                              Application
                   Fees:
                     Incurred During Application Period                          $     51,963.00
                     Non-Billed Services                                              (5,942.50)
                     Anticipated Fees After Application Period                          8,000.00
                   Requested for Application Period                                    54,020.50
                   Expenses                                                               403.27
                   Total Amount Requested:                                       $     54,423.77




FIRST AND FINAL APPLICATION FOR ALLOWANCE OF COMPENSATION AND
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 Hourly Rates:                              Professional                           Staff
 Highest Rates:                                     $400.00                        $225.00
 Total Hours Billed:                                 132.40                           32.70
 Amounts Billed:                              $38,663.00                         $7,357.50
 Average Hourly Rate:                               $292.02                        $225.00
 Overall Blended Hourly Rate:                                    $278.74




 Expenses:
 Copies (in-house)                             $18.00
 Other                                          37.70
 Postage/Overnight Delivery                     37.57
 Tax Software Processing Fee                   310.00
                                             $403.27




Dated: December 28, 2017                       /s/ D. Keith Enger
                                               D. Keith Enger




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D. Keith Enger
LAIN, FAULKNER & CO., P.C.
400 N. Saint Paul, Suite 600
Dallas, TX 75201
Telephone: (214) 720-1929
Fax: (214) 720-1450

Accountants for the Chapter 7 Trustee

                 IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION
 _____________________________________
                                       §
IN RE:                                 §
                                       § Case No. 15-41732
INTERPHASE CORPORATION                 § Chapter 7
                                       §
         DEBTOR.                       §
 _____________________________________ §

               FIRST AND FINAL APPLICATION FOR ALLOWANCE OF
             COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                  LAIN, FAULKNER & CO., P.C., AS ACCOUNTANTS

YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

NO HEARING WILL BE CONDUCTED ON THIS APPLICATION UNLESS A WRITTEN OBJECTION IS FILED WITH THE
CLERK OF THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING
WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE
UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY
SERVED AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.



TO THE HONORABLE BRENDA T. RHOADES,
UNITED STATES BANKRUPTCY JUDGE:

        Comes now, Lain, Faulkner & Co. P.C., (the “Applicant”) and makes its First and Final
Application for Allowance of Compensation and Reimbursement of Expenses (the “Application”)
for the period October 15, 2015 through December 21, 2017 (the “Application Period”) pursuant
to the provisions of 11 U.S.C. § 330 in support thereof, would respectfully show the Court as
follows:

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       1.       This Court has jurisdiction over the subject matter of this Application pursuant to
the provisions of 28 U.S.C. § 1334 and § 157. This matter is a core proceeding pursuant to 28
U.S.C. § 157(b)(2)(A). This Application is filed pursuant to 11 U.S.C. §§ 330 and 503(b)(2) and
Rule 2016 of the Federal Rules of Bankruptcy Procedure.

                                 CASE INFORMATION AND STATUS

       2.       On September 30, 2015, Interphase Corporation (the “Debtor”) filed a voluntary
petition for relief under Chapter 7 of Title 11 of the U.S. Bankruptcy Code in the U.S. Bankruptcy
Court for the Eastern District of Texas, Sherman Division.

       3.       Mark A. Weisbart was appointed Chapter 7 Trustee (the “Trustee”) in this case and
continues to function in such capacity.

       4.       On November 17, 2015, the Trustee filed its Trustee’s Application to Approve
Employment of Lain, Faulkner & Co., P.C. as Accountants [Doc. No. 41] pursuant to § 327 of the
Bankruptcy Code. On December 8, 2015, this Court entered its Order Granting Trustee’s
Application to Approve Employment of Lain, Faulkner & Co., P.C. as Accountants [Doc. No. 47]
in this proceeding. A true and correct copy of this Order is attached hereto as Exhibit “A.”

       5.       The Trustee is currently holding in excess of $2 million of funds in the Estate. The
Trustee has administered the assets of the Debtor and is now in a position to close this Bankruptcy
Estate, estimating a 100% distribution in the case.

                                     SUMMARY OF APPLICATION

       6.       During the Application Period, Applicant has provided professional accounting and
financial consulting services to the Trustee and, pursuant to § 330 of the United States Bankruptcy
Code and Rule 2016 of the Federal Rules of Bankruptcy Procedure, makes this Application for the
award of reasonable compensation and reimbursement of reasonable and necessary out-of-pocket
expenses.

       7.       Applicant believes that the fees applied for herein are fair and reasonable in view
of the time spent, the size, complexity and extent of the operation of the Estate, the risks associated
with this case, and the results obtained. Applicant has attached as Exhibit “B” a summary, by
individual, which lists the total hours billed and the applicable billing rates. In addition, Applicant
has attached as Exhibit “C” a time summary by project representing total hours billed and total

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fees requested for each project category. Supplementing Exhibit “C” are Exhibits “D” through “J”
which itemize the time spent by each individual on each project and the detailed description of
how each of these hours was spent on a day-to-day basis.

       8.       By and through this Application, Applicant requests approval of fees in the amount
of $46,020.50 and expenses in the amount of $403.27 for a total of $46,423.77, for the Application
Period. During the Application Period Applicant spent a total of 165.10 hours providing the
services for the Estate. In addition, Applicant anticipates incurring additional fees subsequent to
the Application Period in the preparation of the Debtor’s federal and state income tax returns and
in the preparation of the required informational returns. Anticipated fees for this service total
$8,000.00.

       9.       The general categories of accounting and financial consulting services rendered by
the Applicant are summarized as follows:

                A.       Avoidance Actions. At the request of counsel, Applicant obtained payment
       information from the Debtor’s records for both the 90 day period and the one year period
       in order for the Trustee and his counsel to perform his avoidance action analysis. Fees
       Requested - $470.00. See Exhibit “D.”

                B.       Financial Analysis Services. Applicant reviewed available records, making
       recommendations on obtaining financial information from Debtor’s accounting system.
       Fees Requested - $1,007.50. See Exhibit “E.”

                C.       Employment/Fee Application. Applicant incurred time in completing its
       employment documents and in beginning the preparation of its fee application. Fees
       Requested - $2,280.00. See Exhibit “F.”

                D.       Noticing Agent Services. At the request of the Trustee, Applicant assisted
       in compiling a complete listing of the equity holders for an equity distribution in this case.
       Fees Requested - $4,317.50. See Exhibit “G.”

                E.       Tax Services. Applicant segregated this category into five project codes to
       assist in evaluating the reasonableness of each service.

                         -   Federal Income Tax Return. Applicant prepared the required 2015 and
                             the 2016 Consolidated Form 1120 – U.S. Corporation Income Tax

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                             Return for Interphase Corporation and its affiliate. Fees Requested -
                             $13,534.00. See Exhibit “H-1.”
                         -   State Income Tax Return. Applicant prepared the required 2015 state
                             income/franchise tax returns for Texas, California and New Jersey.
                             Applicant also prepared the required 2016 and 2017 Texas franchise tax
                             reports for the Debtor. Fees Requested - $6,052.50. See Exhibit “H-2.”
                         -   Informational Returns. Applicant reviewed the Debtor’s records and
                             cash records maintained by the Trustee to determine the reportable
                             payments made by the Debtor during 2015 and 2016. Applicant also
                             researched Debtor records and, in some instances, contacted the
                             particular recipient, to obtain Social Security numbers in order to
                             complete the required Forms 1099. Fees Requested - $2,594.50. See
                             Exhibit “H-3.”
                         -   Other Tax Services. Applicant researched and responded to numerous
                             tax notices received by the Trustee relating to several states and to the
                             Debtor’s Form 5500. Fees Requested - $5,306.00. See Exhibit “H-4.”
                         -   Accounting Analysis for Tax Services. Applicant gathered financial
                             information from available Debtor records, court documents and from
                             Trustee cash records in order to prepare meaningful tax workpapers to
                             support the federal and state tax returns referred to above. Fees
                             Requested - $9,378.50. See Exhibit “H-5.”
                F.       Data Recovery Services.                Applicant coordinated with Trustee’s data
       recovery service and former employees to obtain accounting information from the Debtor’s
       electronic records. Fees Requested - $1,080.00. See Exhibit “I.”

                G.       Client Time Not Billed.                Applicant incurred time (17.80 hours) in
       completing certain of the tasks referred to above for which no compensation is sought. If
       billed at normal rates, the fees incurred would total $5,942.50. Fees Incurred - $5,942.50.
       Fees Requested - $0.00. See Exhibit “J.”

       10.      Exhibit “K” includes a summary and detailed itemization of actual and necessary
expenses incurred by Applicant for which reimbursement is sought in the amount of $403.27.
Applicant represents that such expenses are reasonable, economical and customarily charged to
non-bankruptcy clients. Applicant further represents that requested expenses adhere to allowable
rates for expenses as fixed by federal and local guidelines or order of the Court.




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                                       EVALUATION STANDARDS

       11.        The Fifth Circuit Court of Appeals has enumerated a number of factors which
should be considered in awarding compensation to professionals, such as the Applicant, in a
bankruptcy proceeding such as the instant one. See First Colonial Corp. V. American Benefit Life
Insurance Company, 544 F.2d 1291 (Fifth Circ. 1977) Cert. Denied, 431 U.S. 904 (1977). See
Lawler V. Teofan, et al, 807 F.2d 1207 (Fifth Cir. 1987). See also 11 U.S.C. §330. Consideration
of these factors follows:

                  A.      Time and Labor Required. Since its appointment, Applicant has committed
       the necessary time and effort on behalf of the Trustee to assist him in fulfilling his fiduciary
       responsibilities in this proceeding. During the Application Period, a total of 165.10 hours
       were incurred by Applicant on behalf of the Trustee and the Estate which if billed in total
       at its normal rates would equal $51,963.00. Applicant has not billed the Estate for 17.80
       hours, representing $5,942.50 in foregone fees, bringing the total amount of requested fees
       during the Application Period to $46,020.50. Applicant is also requesting the allowance
       of fees anticipated to be incurred subsequent to the Application Period for the preparation
       of Debtor’s federal, state and informational tax returns. Applicant anticipates those fees to
       be incurred will total $8,000.00.

                  B.      Novelty and Difficulty of the Questions.                     The issues that Applicant
       encountered serving as Accountant for the Chapter 7 Trustee during this Application Period
       have been of a complex and specialized nature, requiring advanced skills and knowledge
       in bankruptcy accounting, tax reporting and financial analysis, in order to obtain results
       useful to the Trustee and beneficial to the Estate.

                  C.      Skill Requisite to Perform the Services Properly. Applicant’s firm has
       members, including those who have performed services on behalf of the Trustee, who are
       specialized in various facets of financial analysis, bankruptcy accounting and tax reporting.
       Due to their expertise and skill in these specialized areas, Applicant believes far more time
       would have been expended by less experienced personnel, with considerably less desirable
       results.        The array of accounting, financial analysis and specialized reporting
       considerations presented in this proceeding and the prompt and skillful action taken with
       regard to such problems by Applicant required a very high degree of expertise and

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       experience. Applicant’s abilities in this area are well known and enable it to represent
       debtors and trustees effectively and efficiently in bankruptcy proceedings such as the
       instant one.

                D.        Exclusion of Other Employment. Applicant is unable to precisely estimate
       the extent to which it has been precluded from accepting other employment by reason of
       its employment as Accountant for the Chapter 7 Trustee. Applicant has, however, found
       it necessary to reschedule and, in some instances forego, work on other matters because of
       the concentrated efforts necessary to respond to the needs of the Trustee.

                E.        Customary Fees. The fees for which Applicant has applied herein are within
       the customary fees awarded in other proceedings for similar services rendered and results
       obtained.

                F.        Whether the Fee is Fixed or Contingent. Applicant’s fee in this proceeding
       is fixed at its standard hourly rates and is not contingent upon results achieved or the
       ultimate availability of funds for the payment of said fees from the Bankruptcy Estate.
       Applicant, however, concedes that fees in bankruptcy cases, and more especially in cases
       such as this, are contingent on success of the case as well as being subject to scrutiny by
       this Court.

                G.        Time Limitations. Applicant believes that its role in this case has, to date,
       been handled in an expeditious manner, given the factual circumstances involved and the
       complex issues confronted. Applicant further believes that no undue delays have occurred
       and that it has proceeded expeditiously and efficiently to the benefit of the Trustee, the
       creditors and all other parties-in-interest.

                H.        The Amount Involved and Results Obtained. Applicant’s work and effort
       in assisting the Trustee in this case has been both necessary and beneficial to the Estate and
       administration of the case. The Applicant’s efforts and associated benefits to the Estate
       include the following:

                -      Assisting the Trustee in complying with the federal and state income tax filing
                       requirements and confirming that there are no additional tax liabilities for the
                       Estate;

                -      Providing a summary of the payments made to creditors and to insiders during
                       the preference period, to assist the Trustee in avoidance actions analysis; and
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                -      Assisting the Trustee in compiling a complete listing of equity holders for
                       distributing remaining funds to equity.

                I.        Experience, Reputation and Ability of Applicant. Applicant submits that
       its accountants and other staff personnel are respected for their ability in accounting and
       financial consulting services, particularly in regard to bankruptcy situations. Applicants
       have been retained by numerous debtors-in-possession, trustees, secured creditors and
       creditors committees in various Chapter 11 and Chapter 7 proceedings and have received
       favorable comments from the Courts and other parties-in-interest.

                J.        Undesirability of the Case. Applicant does not believe that this is or should
       be a significant factor in the consideration of this Application. Indeed, Applicant does not
       believe that this case was undesirable during the Application Period.

                K.        The Nature and Length of the Professional Relationship with the Debtor.
       Prior to Applicant’s engagement by the Trustee in October 2015, Applicant had not
       performed services for the Debtor or any related entities. Applicant has performed
       accounting services in numerous other bankruptcies, some of which also involved certain
       creditors and attorneys involved in this case.

                L.        Awards in Similar Cases. Applicant believes that the services rendered
       herein as Accountants for the Chapter 7 Trustee have substantially benefited the Estate and
       its creditors, and that such services are of a reasonable value. Applicant further represents
       that the fees applied for are in conformity with fees allowed in similar proceedings for
       similar services rendered and results obtained. Applicant respectfully requests that the
       Court take judicial notice of the awards that have been made in similar proceedings in this
       Court and other bankruptcy courts in the State of Texas.

                                  APPLICANT’S REPRESENTATIONS

       12.      Applicant does not hold nor has it represented at any time during this engagement
any interest adverse to the Estate, and has been at all times a disinterested party. Applicant has
made no agreement for the sharing of compensation for services rendered in or in connection with
this case with any other person, other than the individual members of the Applicant’s firm.
Attached as Exhibit “L” are brief resumes of the personnel involved in this engagement for whose


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services compensation is sought. Applicant has incorporated as Exhibit"M"a statement eertifying
the firm's billing rates and confirming the review of this Application by the Trustee.

                                           PRAYER FOR RELIEF


        WHEREFORE,the Applicant respectfully prays that the Court(1) allow on a final basis

reasonable eompensation for professional services rendered during the Application Period in the

sum of $46,020.50 and the reimbursement of out-of-pocket expenses in the sum of $403.27 for a

total of$46,423.77;(2) allow on a final basis reasonable compensation for services anticipated to

be incurred subsequent to the Application Period in the amount of $8,000.00 for the preparation

ofthe federal, state and informational tax returns;(3)authorize payment ofthose fees and expenses

in the total amount of$54,423.77, in light ofthe assets in this Estate and the other Estate liabilities

afforded the Chapter 7 administrative expense priority; and (4) grant the Applicant such other and

further relief, general or special, at law or in equity, to which it may be justly entitled.

                                                                Respectfully submitted,

                                                                /s/ D. Keith Enger
                                                                D. Keith Enger
                                                                LAIN,FAULKNER & CO., P.C.
                                                                400 N. Saint Paul, Suite 600
                                                                Dallas, Texas 75201
                                                                (214)720-1929 Telephone
                                                                (214)720-1450 Facsimile



                                   CERTIFICATION BY TRUSTEE


      1, Mark A. Weisbart, the Chapter 7 Trustee in this case, hereby certify that 1 have read and
approved this First and Final Application for fees and expenses.

        Dated: December 28, 2017.



                                                                Mark A. Weisbart, Trustee



FIRST AND FINAL APPLICATION FOR ALLOWANCE OF COMPENSATION AND
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                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was served on the
parties listed on the attached mailing list either through the Court’s electronic notification system
as permitted by Appendix 5005 to the Local Rules of the U.S. Bankruptcy Court for the Eastern
District of Texas or by first class mail, postage prepaid, on this 28th day of December, 2017.

                                                      /s/ Mark A. Weisbart
                                                      Mark A. Weisbart




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                                                                                                                   Corporation
0540-4                                               William Hagerman                                      5 Oldfield
Case 15-41732                                        1960 Lucent Lane                                      Irvine, CA 92618-2840
Eastern District of Texas                            Napeville, IL 60563-1594
Sherman
Thu Dec 28 11:19:18 CST 2017
Arrow Electronics Inc.                               Avnet, Inc.                                           B.E. Capital Management Fund LP
c/o NAC Risk Recovery                                5400 Prairie Stone Pkwy                               228 Park Avenue S #63787
9201 E. Dry Creek Road                               Hoffman Estates, IL 60192-3721                        New York, NY 10003-1502
Englewood, Co 80112-2818


Evan R. Baker                                        Bankruptcy Section MS A340                            CBT Technology Inc.
1601 Elm Street                                      Franchise Tax Board                                   Atrenne Computing Solutions
Suite 3000                                           P O Box 2952                                          10 Mupac Drive
Dallas, TX 75201-4757                                Sacramento, CA 95812-2952                             Brockton, MS 02301-5548


Shawn M. Christianson                                City of Carrollton                                    Comptroller of Public Accounts
Buchalter, A Professional Corporation                c/o Laurie Spindler Huffman                           c/o Office of the Attorney General
55 Second St., 17th Fl.                              Linebarger Goggan Blair & Sampson, LLP                Bankruptcy - Collections Division MC-008
San Francisco, CA 94105-3491                         2777 N Stemmons Freeway Suite 1000                    PO Box 12548
                                                     Dallas, TX 75207-2328                                 Austin TX 78711-2548
                                                                                                           ( 78711-2548
Computershare Trust Co. Inc.                         Denton County                                         Department Of Health and Human Services
100 University Ave, 8th Fl.                          c/o Lee Gordon                                        Jeffrey Grant
Toroonto, ON Msj241                                  P.O. Box 1269                                         7500 Security Blvd, Mail Stop WV-22-75
                                                     Round Rock, Texas 78680-1269                          Baltimore, MD 21244-1849


Digi-Key Corporation                                 Ernst And Young Societe D’Avocoats                    FedEx TechConnect, Inc.
PO Box 677                                           Tour First-TSA 14444                                  Attn: Revenue Recovery/Bankruptcy
Thief River Falls, MN 56701-0677                     Paris-La Defense, FR 92037                            3965 Airways Blvd. Module G.,3rd Floor
                                                                                                           Memphis,TN 38116-5017


Finnish Tax Administration                           Future Electronics                                    GECITS - Bankruptcy
Collection and Recovery Unit of                      c/o Diane Svendsen                                    P O Box 13708
Southern Finland                                     41 Main St.                                           Macon, GA 31208-3708
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Illinois Secretary of State                          Internal Revenue Service                              Interphase Corporation
Dept of Business Services                            P.O. Box 7346                                         4240 International Pkwy
350 Howlett Building                                 Philadelphia, PA 19101-7346                           Suite 105
Springfield, IL 62756-0001                                                                                 Carrollton, TX 75007-1985


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                        Case 15-41732     Doc 185   Filed 12/28/17 Entered 12/28/17 11:22:00   Desc Main Document    Page 48 of 49
Level 3 Communications(Legal Dept. Bky)                Marlin Business Bank                                  Massachusetts  Department of Revenue
1025 Eldorado Blvd                                     300 Fellowship Rd.                                    Bankruptcy Unit
Broomfield Co 80021-8869                               Mt. Laurel, NJ 08054-1201                             P. O. Box 9564
                                                                                                             Boston, MA 02114-9564


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Suite 1600                                             Dallas, TX 75201-7282
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                                                       c/o Donald Ludman, Esq                                Dallas, TX 75205-4210
                                                       Woodbury, NJ 08096-4635

Laurie A. Spindler                                     State Of California                                   State of Florida - Department of Revenue
Linebarger, Goggan, Blair & Sampson                    Bankruptcy Section MS A340                            Post Office Box 6668
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                                                       Sacramento, CA 95812-2952

TTI, Inc.                                              US Trustee                                            Uusimaa ELY Centre
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                                                       Suite 300
                                                       Tyler, TX 75702-7231

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                                                       Olympia, WA 98504-4171                                Dallas, TX 75251-1366


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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Lee Gordon
McCreary Veselka Bragg & Allen, PC
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
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(d)Mark A. Weisbart                                  (d)Mark A. Weisbart                                   End of Label Matrix
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